                                                                         HH1 of 3
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                                                                                     Feb 22, 2019
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT                                                   MIAMI

                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                          February 22, 2019

   Angela Emilia Noble
   Wilkie D. Ferguson, Jr. U.S. Courthouse
   400 North Miami Avenue, Room 11-3
   Miami, FL 33128

   Appeal Number: 19-10036-H
   Case Style: R. Johnson v. USA
   District Court Docket No: 9:08-cv-80736-KAM

   The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
   11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
   motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
   such order. No additional time shall be allowed for mailing."

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Gerald B. Frost, H
   Phone #: (404) 335-6182

   Enclosure(s)

                                                                 DIS-4 Multi-purpose dismissal letter
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                        IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT



                                          No. 19-10036-H



  JANE DOE,

                                                                                        Petitioner,

  R. WAYNE JOHNSON,

                                                                        Interested Party-Appellant,

                                               versus



  UNITED STATES OF AMERICA,

                                                                              Defendant-Appellee.


                            Appeal from the United States District Court
                                 for the Southern District of Florida




  Before TJOFLAT, MARTIN,and BRANCH,Circuit Judges.

  BY THE COURT:


         This appeal is DISMISSED,sua sponte, for lack ofjurisdiction. Appellant R. Wayne

  Johnson—who is not a party to the underlying litigation and did not move to intervene—does not

  have standing to appeal from the district court's order denying his motion for production of

  documents. See Marino v. Ortiz^ 484 U.S. 301, 304(1988)("The rule that only parties to a

  lawsuit, or those that properly become parties, may appeal an adverse judgment, is well

  settled."). Johnson may obtain copies ofthe docket and public documents from the Clerk of
  Court for a^^^Tas the district court explained.
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                Case: 19-10036 Date Filed:
                                     (2 of 3)
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